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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE SUNPOWER CORPORATION                         Case No. 16-cv-04710-RS
                                        SECURITIES LITIGATION
                                   8
                                                                                           JUDGMENT
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                                  12
Northern District of California
 United States District Court




                                  13          Pursuant to the Order granting the motion to dismiss entered October 9, 2018, Judgment is

                                  14   hereby entered in favor of defendants and against plaintiffs.

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                                  16   IT IS SO ORDERED.

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                                  18   Dated: October 10, 2018

                                  19                                                   ______________________________________
                                                                                       RICHARD SEEBORG
                                  20                                                   United States District Judge
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